                  Case 4:21-cr-40120-KES Document 56 Filed 03/02/23 Page 1 of 1 PageID #: 135
DSD Rev. 09/17




                                                    UNITED STATES DISTRICT COURT
                                                                         DISTRICT OF SOUTH DAKOTA

                     United States of America                                                                           EXHIBIT LIST
                                          V.
                                 Tyson Thill                                                                             Case Number: 21-CR-40120-KES-1

  PRESIDING JUDGE                                                           PLAINTIFF’S ATTORNEY                                DEFENDANT’S ATTORNEY
  Veronica L. Duffy, United States Magistrate Judge                                           Jeff Clapper                                       Matt Powers
  TRIAL DATE                                                                COURT REPORTER                                      COURTROOM DEPUTY
                           March 2, 2023                                                Connie Heckenlaible                                         JLS
  PLF.      DEF.       COURT             DATE
                                                            ADMITTED                                                   DESCRIPTION OF EXHIBITS
  NO.       NO.         NO.             OFFERED

    1                                     3/2/23                  X            ICE Form 73-025 - Statement of Rights – waiver signed 7/28/21
    2                                     3/2/23                  X            Polygraph Advisement – signed 7/28/21
    3                                     3/2/23                  X            SEALED USB containing audio and video recordings
    4                                     3/2/23                  X            SEALED Transcripts of audio and video recordings
    5

    6                                     3/2/23                  X            Tactical Polygraph UTAH question


              A                           3/2/23                  X            CV of Phillip Toft Jr.
              B                           3/2/23                  X            Report prepared by Phillip Toft, Jr.
              C

              D                           3/2/23                  X            CV of Gregory DeClue, PhD
              E                           3/2/23                  X            Report prepared by Gregory DeClue, PhD
              F                           3/2/23                  X            Report of Investigation
              G                           3/2/23                  X            SEALED - Photo




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* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
